Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 1 of 71 Pageid#:
                                  12412
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 2 of 71 Pageid#:
                                  12413
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 3 of 71 Pageid#:
                                  12414
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 4 of 71 Pageid#:
                                  12415
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 5 of 71 Pageid#:
                                  12416
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 6 of 71 Pageid#:
                                  12417
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 7 of 71 Pageid#:
                                  12418
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 8 of 71 Pageid#:
                                  12419
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 9 of 71 Pageid#:
                                  12420
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 10 of 71 Pageid#:
                                   12421
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 11 of 71 Pageid#:
                                   12422
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 12 of 71 Pageid#:
                                   12423
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 13 of 71 Pageid#:
                                   12424
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 14 of 71 Pageid#:
                                   12425
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 15 of 71 Pageid#:
                                   12426
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 16 of 71 Pageid#:
                                   12427
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 17 of 71 Pageid#:
                                   12428
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 18 of 71 Pageid#:
                                   12429
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 19 of 71 Pageid#:
                                   12430
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 20 of 71 Pageid#:
                                   12431
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 21 of 71 Pageid#:
                                   12432
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 22 of 71 Pageid#:
                                   12433
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 23 of 71 Pageid#:
                                   12434
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 24 of 71 Pageid#:
                                   12435
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 25 of 71 Pageid#:
                                   12436
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 26 of 71 Pageid#:
                                   12437
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 27 of 71 Pageid#:
                                   12438
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 28 of 71 Pageid#:
                                   12439
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 29 of 71 Pageid#:
                                   12440
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 30 of 71 Pageid#:
                                   12441
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 31 of 71 Pageid#:
                                   12442
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 32 of 71 Pageid#:
                                   12443
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 33 of 71 Pageid#:
                                   12444
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 34 of 71 Pageid#:
                                   12445
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 35 of 71 Pageid#:
                                   12446
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 36 of 71 Pageid#:
                                   12447
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 37 of 71 Pageid#:
                                   12448
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 38 of 71 Pageid#:
                                   12449
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 39 of 71 Pageid#:
                                   12450
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 40 of 71 Pageid#:
                                   12451
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 41 of 71 Pageid#:
                                   12452
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 42 of 71 Pageid#:
                                   12453
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 43 of 71 Pageid#:
                                   12454
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 44 of 71 Pageid#:
                                   12455
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 45 of 71 Pageid#:
                                   12456
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 46 of 71 Pageid#:
                                   12457
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 47 of 71 Pageid#:
                                   12458
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 48 of 71 Pageid#:
                                   12459
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 49 of 71 Pageid#:
                                   12460
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 50 of 71 Pageid#:
                                   12461
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 51 of 71 Pageid#:
                                   12462
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 52 of 71 Pageid#:
                                   12463
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 53 of 71 Pageid#:
                                   12464
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 54 of 71 Pageid#:
                                   12465
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 55 of 71 Pageid#:
                                   12466
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 56 of 71 Pageid#:
                                   12467
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 57 of 71 Pageid#:
                                   12468
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 58 of 71 Pageid#:
                                   12469
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 59 of 71 Pageid#:
                                   12470
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 60 of 71 Pageid#:
                                   12471
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 61 of 71 Pageid#:
                                   12472
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 62 of 71 Pageid#:
                                   12473
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 63 of 71 Pageid#:
                                   12474
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 64 of 71 Pageid#:
                                   12475
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 65 of 71 Pageid#:
                                   12476
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 66 of 71 Pageid#:
                                   12477
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 67 of 71 Pageid#:
                                   12478
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 68 of 71 Pageid#:
                                   12479
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 69 of 71 Pageid#:
                                   12480
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 70 of 71 Pageid#:
                                   12481
Case 3:17-cv-00072-NKM-JCH Document 823-2 Filed 08/07/20 Page 71 of 71 Pageid#:
                                   12482
